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United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known) Chapter you are filing under:
B® Chapter 7
OD Chapter 11

CO) Chapter 12

O Chapter 13 O Check if this is an
amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/22

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankru ptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 7 in

all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name thatison Anil

your government-issued =" First name First name
picture identification (for
example, your driver's
license or passport). Middle name Middle name

Bring your picture Chugh

identification to your 7
meeting with the trustee. Last name and Suffix (Sr., Jr., II, Ill) Last name and Suffix (Sr., Jr., ll, HI)

2. All other names you have
used in the last 8 years

Include your married or
maiden names and any
assumed, trade names and
doing business as names.

Do NOT list the name of
any separate legal entity
such as a corporation,
partnership, or LLC that is
not filing this petition.

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-3743
Individual Taxpayer
Identification number
(ITIN)

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Debtor1 Anil Chugh Case number (if known)

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

Your Employer

4. Identification Number
(EIN), if any.
EIN EIN
5. Where you live If Debtor 2 lives at a different address:
356 Trinity Lake
Oak Brook, IL 60523
Number, Street, City, State & ZIP Code Number, Street, City, State & ZIP Code
DuPage
County County
if your mailing address is different from the one If Debtor 2's mailing address is different from yours, fill it
above, fill it in here. Note that the court will send any in here. Note that the court will send any notices to this
notices to you at this mailing address. mailing address.
Oak Brook, IL 60523-2623
Number, P.O. Box, Street, City, State & ZIP Code Number, P.O. Box, Street, City, State & ZIP Code
6. Why you are choosing Check one: Check one:
this district to file for
bankruptcy MH Over the last 180 days before filing this petition, C1 Over the last 180 days before filing this petition, |
| have lived in this district longer than in any have lived in this district longer than in any other
other district. district.
1 have another reason. QO have another reason.
Explain. (See 28 U.S.C. § 1408.) Explain. (See 28 U.S.C. § 1408.)

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 2
Debtor1 Anil Chugh

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Case number (if known)

Tell the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under

B® Chapter 7

O Chapter 11

O Chapter 12

O Chapter 13

8. How youwillpaythefee Hf | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.
| need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Installments (Official Form 103A).

oO | request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for BNo

bankruptcy within the ,
last 8 years? D Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy BNo
cases pending or being
filed by aspouse whois (1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your HB No Go to line 12.
residence? ,
O Yes, Has your landlord obtained an eviction judgment against you?

oO No. Go to line 12.

oO Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

Official Form 101

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Debtor? Anil Chugh Case number (if known)

Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
of any full- or part-time B No. Go to Part 4.
business?

OO Yes. Name and location of business

A sole proprietorship is a
business you operate as Name of business, if any
an individual, and is nota
separate legal entity such
as a corporation,
partnership, or LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach
it to this petition. Check the appropriate box to describe your business:

Number, Street, City, State & ZIP Code

fl Health Care Business (as defined in 11 U.S.C. § 101(27A))

oO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

O Stockbroker (as defined in 11 U.S.C. § 101(53A))

Oo Commodity Broker (as defined in 11 U.S.C. § 101(6))

D None of the above

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a smail business debtor or a debtor choosing to
Chapter 11 of the proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
Bankruptcy Code, and you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
are youa small business cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
debtor or a debtor as § 1116(1)(B).
defined by 11 U.S. C. § Bi No. fam not filing under Chapter 11.
1182(1)?
For a definition of small : : 2 wg
usiness debior, See 11 OONo. yang under Chapter 11, but! am NOT a small business debtor according to the definition in the Bankruptcy
U.S.C. § 101(51D). .
O yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy Code, and

| do not choose to proceed under Subchapter V of Chapter 11.

O Yes. | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and |
choose to proceed under Subchapter V of Chapter 11.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14, Doyouownorhave any i yo
property that poses or is
alleged to pose athreat (1 Yes.
of imminent and What is the hazard?

identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

If immediate attention is
needed, why is it needed?

For example, do you own

perishable goods, or

livestock that must be fed, Where is the property?
or a building that needs

urgent repairs?

Number, Street, City, State & Zip Code

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Debtor? Anil Chugh

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Case number (if known)

ee Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:

You must check one:

«Cl received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

0 sIreceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

O_ /am not required to receive a briefing about
credit counseling because of:

oO Incapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O01 _sODisability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

C] Active duty.
| am currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

Oo

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

| am not required to receive a briefing about credit
counseling because of:

O_sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_sDisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

O)_ Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

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Voluntary Petition for Individuals Filing for Bankruptcy

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Debtor1 Anil Chugh Case number (if known)
non Answer These Questions for Reporting Purposes
16. What kind of debts do 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

you have?

individual primarily for a personal, family, or household purpose.”
01 No, Go to line 16b,

H Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

C1 No. Go to line 16c.

CZ Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

17. Are you filing under

OONo. |! amnot filing under Chapter 7. Go to line 18.

Chapter 7?
Do you estimate that B ves lam filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt "are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses MNno
are paid that funds will
be available for O Yes
distribution to unsecured
creditors?
18. How many Creditorsdo = 4.49 0 1,000-5,000 C2 25,001-50,000
eae at yeu C1 50-99 1 5001-10,000 C1 50,001-100,000
0 100-199 C1) 10,001-25,000 C1 More than100,000
0 200-999
19. How much do you B $0 - $50,000 0 $1,000,001 - $10 million (2 $500,000,001 - $1 billion

estimate your assets to
be worth?

CO $50,001 - $100,000
OC $100,001 - $500,000
C $500,001 - $1 million

CF $10,000,001 - $50 million
C1) $50,000,001 - $100 million
C $100,000,001 - $500 million

1 $1,000,000,001 - $10 billion
CZ $10,000,000,001 - $50 billion
CO More than $50 billion

20. How much do you
estimate your liabilities
to be?

DZ $0 - $50,000

O $50,001 - $100,000
M@ $100,001 - $500,000
DC $500,001 - $1 million

C1 $1,000,001 - $10 million

QD $10,000,001 - $50 million
C1 $50,000,001 - $100 million
0 $100,000,001 - $500 million

OC $500,000,001 - $1 billion

O $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
CI More than $50 billion

Sign Below

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this

document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a

bankruptcy case can resulti
and 3571. gt

Is! Anil Chugh

Anil Chugh
Signature of Debtor 1

fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

eo Signature of Debtor 2

Executed on December 8, 2023

Executed on

MM /DD/YYYY

MM /DD/YYYY

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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Debtor1 Anil Chugh

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Case number (if known)

For your attorney, if you are
represented by one

If you are not represented by
an attorney, you do not need
to file this page.

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in which § 707(b)(4}(D) applies, certify that | have no knowledge after an inquiry that the information in the

Date

schedules'fi ity the petition is incorrect.

Signature 6f Attorney for Debtor

T. Paul S. Chawla Oak Brook Legal P.C.

December 8, 2023

MM/DD / YYYY

Printed name

Qak Brook Legal, P.C.

Firm name

3908 N Cass Ave
Westmont, IL 60559

Number, Street, City, State & ZIP Code

63032555557
Illinois

Contact phone Email address

6206722

tschawla@oakbrooklegal.com

Bar number & State

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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LeAnn UN ee) tna Lie lai cede eV MeLA A ole] mers tse

Debtor 1 Anil Chugh

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © NORTHERN DISTRICT OF ILLINOIS

Case number
(if known) O Check if this is an

amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
ta. Copy line 55, Total real estate, from Schedule AVB.o.........ccccccscssssssssssesssessssesssssssesssiesssesssvesieserecesvesseeeseeeseeee cc. $ 0.00
1b. Copy line 62, Total personal property, from Schedule AVB........ccccccccccssesssssecsssesssssssseseseseesssssosssesssteseseeseeseeeeeec. $ 1,680.00
1c. Copy line 63, Total of all property on Schedule AMB...........ccccccccssssssssssssesssesssssesssesssesssiessevssessseseseecescesteceeeeeeee $ 1,680.00

[2 summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 0.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F....------cccccccccccc., $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F 0.0... $ 223,791.00
Your total liabilities | $ 223,791.00
[ER Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 Of Schedule I.......ccccccccccccscsssssesssssssessssssvessssssssssessesssessieeeeeesseece $ 1,130.00
5. Schedule J: Your Expenses (Official Form 106J)
$ 300.00

Copy your monthly expenses from line 22¢ Of SCHECUIC Uo.ceccccccscccococccscssessvesssssesseseseeteeeeeeeeeeoeeoceee

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

MB Yes
7. What kind of debt do you have?

@ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor? Anil Chugh Case number (if known)

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

122A-1 Line 11; OR, Form 122B Line 11: OR, Form 122C-1 Line 14. 0.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. s 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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TTA Mn Col dur Wea coli etme ove Lect Si-e late Mies tiate p

Debtor 1 Anil Chugh

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

Case number O Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).

Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1, Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

& No. Go to Part 2.
DO yes. Where is the property?

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases,

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

OO No
Yes
Hyndai : 2 Do not deduct secured claims or exemptions. Put

3.1 Make: y Who has an interest in the property? Check one the amount of any secured claims on Schedule D
Model: Sonata DO Debtor 1 only Creditors Who Have Claims Secured by Property
Year: 2010 C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 200,000 0 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: IB Atleast one of the debtors and another

CI Check if this is community property $1,500.00 $750.00

(see instructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

BNo
OC Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
‘pages you have attached for Part 2. Write that number here......c.cccccsscsscscssscssssscsessessessssscsessussucsscsessssssssscensoonee => $750.00

ee Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1 Anil Chugh Case number (if known)

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

B No
CO Yes. Describe.....

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games

0 No
BH Yes. Describe.....

| Cell phone | $100.00

| Computer | $200.00

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;

other collections, memorabilia, collectibles
Bi No

C2 Yes. Describe.....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks: carpentry tools:

musical instruments
No
CO Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
Hino
OO Yes. Describe...

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

OONo
W@ Yes. Describe...

Clothing owned by debtors at debtors’ residence and in debtors'

possession. $400.00

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

BNo
C] Yes. Describe.....

13. Non-farm animals
Examples: Dogs, cats, birds, horses

Hi No
OC Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
BNo

CO Yes. Give specific information...

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here «20.0... eeeeeeeeeeeeceeeeeeeeeeeeeseeeaeeeneseeseteeeneaeesneneees $700.00

Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the

Official Form 106A/B Schedule A/B: Property page 2
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Debtor? Anil Chugh Case number (if known)
portion you own?
Do not deduct secured
claims or exemptions
16. Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

C1 No

Cash $30.00

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar

institutions. If you have multiple accounts with the same institution, list each.

Institution name:

Checking account at Huntington National
174. Bank, account #1289. $200.00

18. Bonds, mutual funds, or publicly traded stocks
Examples. Bond funds, investment accounts with brokerage firms, money market accounts

BH No
OO Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture
HNo

O Yes. Give specific information about them...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

B No

OO Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

HNo

C1 Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples. Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

HI No
OF Ye@S8. ooo Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

HB No
DO Yes issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

HNo
O Yes Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
HI No
CO Yes. Give specific information about them...

Official Form 106A/B Schedule A/B: Property page 3
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Debtor 1 Anil Chugh Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

B No
O Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

HB No
OC Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
Bno
0 Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Hi No

C Yes. Give specific information......

30, Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security

benefits; unpaid loans you made to someone else
No
O Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

HNo

C1 Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because

someone has died.
BNo
1 Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Hi No
CO Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
HB No
O Yes. Describe each claim.........

35. Any financial assets you did not already list
No
O Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here.................ceseessesseceeseseseeseereeeeeesseseesenssecssesseeseeseuseuserssuseuseeesenseanensessesesenteer $230.00

[ERIE Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

Official Form 106A/B Schedule A/B: Property page 4
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Debtor 1 Anil Chugh Case number (if known)
37. Do you own or have any legal or equitable interest in any business-related property?
BB No. Go to Part 6.
0 Yes. Go to line 38
felsic | Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list itin Part 1.
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
BE No. Go to Part7.
D1 Yes. Go to line 47
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
HB No
0 Yes. Give specific information.........
54. Add the dollar value of all of your entries from Part 7. Write that number here ........-.--::seeeeereeeeees $0.00
List the Totals of Each Part of this Form
55. Part 1: Total real estate, lime 2 0.2.2... secscesesssresssescscesssesesesseeeseenenenesecseaenensnannenesssaesceensnenenenaacensveneniees $0.00
56. Part 2: Total vehicles, line 5 $750.00
57. Part 3: Total personal and household items, line 15 $700.00
58. Part 4: Total financial assets, line 36 $230.00
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00
62. Total personal property. Add lines 56 through 61... $1,680.00 Copy personal property total $1,680.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $1,680.00
Official Form 106A/B Schedule A/B: Property page 5
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Debtor 1 Anil Chugh

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © NORTHERN DISTRICT OF ILLINOIS

Case number
(if known) OO Check if this is an

amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited

to the applicable statutory amount.
[GEEEBEE identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

B You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)}(3)
D You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
2010 Hyndai Sonata 200,000 miles $750.00 735 ILCS 5/12-1001(b)

Line from Schedule A/B: 3.1
H 100% of fair market value, up to

any applicable statutory limit

Cell phone $100.00 oO 735 ILCS 5/12-1001(b)
Line from Schedule A/B: 7.1

H 100% of fair market value, up to
any applicable statutory limit

Computer $200.00 735 ILCS 5/12-1001(b)
Line from Schedule A/8: 7.2

MH 100% of fair market value, up to
any applicable statutory limit

Clothing owned by debtors at $400.00 735 ILCS 5/12-1001(b)
debtors' residence and in debtors’
possession.

Line from Schedule A/B: 11.1

HM 100% of fair market value, up to
any applicable statutory limit

3. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

B® No
Cl Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No

O Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
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Debtor1 Anil Chugh Aor ine
Yr ——

Case number (if known)

Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2
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Debtor 1 Anil Chugh

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the. © NORTHERN DISTRICT OF ILLINOIS

Case number
(if known) O Check if this is an

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
HH No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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Debtor 4 Anil Chugh

First Name Middle Name Last Name
Debtor 2
{Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe. © NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)

OO Check if this is an
amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

12/15

List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

BB No. Go to Part 2.
O ves.

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

01 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
BB yes,

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3./f you have more than three nonpriority unsecured claims fill out the Continuation Page of
Part 2

Total claim

$200,000.00

4.1 Sheikh Zafar Last 4 digits of account number
Nonpriority Creditor's Name

3155 W Wallen Ave
Chicago, IL 60645

When was the debt incurred?

Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only

DO Debtor 2 only

O Debtor 4 and Debtor 2 only

Oat least one of the debtors and another

C1 check if this claim is for a community
debt
Is the claim subject to offset?

a No
O Yes

As of the date you file, the claim is: Check all that apply

| Contingent
0 unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

O student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

OD Debts to pension or profit-sharing plans, and other similar debts

@ other Specify Court case

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Anil Chugh

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Case number (if known)

Document

4.2 Sheila Bridge Last 4 digits of account number $13,791 .00
Nonpriority Creditor's Name
28532 N Sky Crest Dr When was the debt incurred?
Mundelein, IL 60060
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
 pebtor 1 only C1 contingent
D Debtor 2 only 0 unliquidated
OD Debtor 1 and Debtor 2 only D1 Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is fora community [1 student foans
debt D0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BBNo OQ Debts to pension or profit-sharing plans, and other similar debts
O Yes B other. specify Court Judgment
43 State of Illinois Last 4 digits of account number $10,000.00

Nonpriority Creditor's Name

Number Street City State Zip Code
Who incurred the debt? Check one.

B pebtor 1 only

D Debtor 2 only

DZ Debtor 1 and Debtor 2 only

C1 at least one of the debtors and another

DO check if this claim is for a community
debt
Is the claim subject to offset?

f No
O yes

March 14, 2022

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Oo Contingent
0 uUntiquidated

OD disputed
Type of NONPRIORITY unsecured claim:

O Student toans

0 Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CZ Debts to pension or profit-sharing plans, and other similar debts

B other. Specify Court Judgment

List Others to Be Notified About a Debt That You Already Listed

an

. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency

is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

EERE Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Total Claim
6a. Domestic support obligations 6a, S 0.00
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d, Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. $ 0.00
Total Claim
6f. Student loans 6f. $ 0.00
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 6g. $ :
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. 3 0.00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i. $ 223,791.00

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Page 2 of 3
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Debtor1 Anil Chugh - Ay} - Case number (it known)

here.

6}. Total Nonpriority. Add lines 6f through 6i. 6). $ 223,791.00

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 3
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Debtor 1 Anil Chugh

First Name Middie Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

Case number
(if known) (C] Check if this is an

amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
IB No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CD Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code

2.1

Name

Number Street

City State ZIP Code

2.2

Name

Number Street

City State ZIP Code

2.3

Name

Number Street

City State ZIP Code

24

Name

Number Street

City State ZIP Code

2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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| Debtor 1 Anil Chugh
First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

one States Bankruptcy Court forthe: © NORTHERN DISTRICT OF ILLINOIS

Case number
(if known) 1 Check if this is an

| amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

BNo
0 Yes

2. Within the last 8 years, have you lived ina community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

BE No. Go to line 3.
0 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

Column 7: Your codebtor Column 2: The creditor to whom you owe the debt
Name. Number, Street, City, State and ZIP Code Check all schedules that apply:
O Schedule D, line
Name CO Schedule E/F, line
CO) Schedule G, line
Number Street
City State ZIP Code
CZ Schedule D, line
Neme CX Schedule E/F, line
CO) Schedule G, line
Number Street
City State ZIP Code

Official Form 106H Schedule H: Your Codebtors Page 1 of 1
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BA ay Unless nhcodnnbe lateral ive) lleleyard

Debtor 1 Anil Chugh

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

Case number Check if this is:
(If known) C An amended filing

OA supplement showing postpetition chapter
13 income as of the following date:

Official Form 1061 MM/DDIYYYY
Schedule |: Your Income 412/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job, CO Employed 0 Employed

attach a separate page with Employment status r a

information about additional Not employed Not employed

employers.

Occupation

Include part-time, seasonal, or ;
Employer's name

self-employed work.

Occupation may include student Employer's address

or homemaker, if it applies.

How long employed there?

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 $ 0.00 § 0.00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ 0.00
4. Calculate gross Income. Add line 2 + line 3. 4.1 $ 0.00 | $ 0.00 |

Official Form 1061] Schedule I: Your Income page 1
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Debtor1 Anil Chugh Case number (if known)
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 PN gens ae ep rpmntepamenengamencensnennarpestne 4. $ 0.00 $ 0.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions fa. $ 0.00 §$ 0.00
5b. Mandatory contributions for retirement plans 5b.  § 0.00 $ 0.00
5c. Voluntary contributions for retirement plans 5c. §$ 0.00 $ 0.00
5d. Required repayments of retirement fund loans 5d. § 0.00 §$ 0.00
5e. Insurance Se. $ 0.00 $ 0.00
5f. Domestic support obligations Sf 0.00 § 0.00
5g. Union dues 5g. § 0.00 § 0.00
5h. Other deductions. Specify: Sh.+ § 0.00 + $ 0.00
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6 6 § 0.00 $ 0.00
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. § 0.00 $ 0.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. § 0.00 $ 0.00
8b. Interest and dividends 8b. $ 0.00 = =6$ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8. §$ 0.00 $ 0.00
8d. Unemployment compensation 8d. $ 0.00 $ 0.00
8e. Social Security 8e. § 1,130.00 $ 0.00
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: Sf. § 0.00 ¢$ 0.00
8g. Pension or retirement income 8g. $ 0.00 $ 0.00
8h. Other monthly income. Specify: 8h.+ $ 0.00 + $ 0.00
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h, 9. |$ 1,130.00} |$ 0.00
10. Calculate monthly income. Add line 7 + line 9. 10.]$ 1,130.00 | 8 .00| =|$ 1,130.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. | |
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies 12.) $1,130.00
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

& No.

Oo Yes. Explain: [ =

Official Form 1061 Schedule |: Your Income page 2
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Debtor 1 Anil Chugh Check if this is:
Ci Anamended filing
Debtor 2 1) A supplement showing postpetition chapter

(Spouse, if filing) 13 expenses as of the following date:

United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS MM /DD/YYYY

Case number
(If known)

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household
1. Is this a joint case?

Bi No. Go to line 2.
C Yes. Does Debtor 2 live in a separate household?

ONo
C1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? [HI No

Do not list Debtor 1 and OC] Yes. Fill out this information for Dependent’s relationship to Dependent's Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
REL ESS Ease

Do not state the ONo
dependents names. OC Yes

ONo

DC Yes

ONo

CO Yes

C1 No

C1 Yes

3. Do your expenses include HNno

expenses of people other than oO
yourself and your dependents? Yes
Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income

(Official Form 1061.) Your expenses

SSS eS a

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4, $ 0.00

If not included in line 4:

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. § 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
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Debtor? Anil Chugh

6.

16.

UE

19.

20.

21.
22.

23.

24.

Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection

6d. Other. Specify:

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Do not include car payments.

Insurance.

15a. Life insurance

15b. Health insurance

15c. Vehicle insurance

15d. Other insurance. Specify:

Specify:

Installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other. Specify:

17d. Other. Specify:

Specify:

20a. Mortgages on other property
20b. Real estate taxes

Other: Specify:

Case number (if known)

Calculate your monthly expenses
22a. Add lines 4 through 21.

Calculate your monthly net income.

6a. $ 0.00
6b. $ 0.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 200.00
6d. $ 0.00
7. $ 0.00
8. $ 0.00
9. $ 100.00
10. $ 0.00
11. $ 0.00
Transportation. Include gas, maintenance, bus or train fare.
12. $ 0.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
Charitable contributions and religious donations 14. $ 0.00
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. $ 0.00
15b. $ 0.00
15c. $ 0.00
15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
16. $ 0.00
17a. §$ 0.00
17b. $ 0.00
17c. $ 0.00
17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 1061). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 0.00
19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. $ 0.00
20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. § 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
21. +$ 0.00
$ 300.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 300.00
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a. $ 1,130.00
23b. Copy your monthly expenses from line 22c above. 23b. -$ 300.00
23c. Subtract your monthly expenses from your monthly income. 94¢.|$ 830.00 |

The result is your monthly net income.

Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because ofa

modification to the terms of your mortgage?

B No.

D Yes. | Explain here:

Official Form 106J Schedule J: Your Expenses

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TAUMia ane col Cette conn ey CeIn oll [ater tYsps

Debtor 1 Anil Chugh

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

Case number
(if known) (] Check if this is an
amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Bm No

O) Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,

Declaration, and Signature (Official Form 119)

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

Anil Chugh Signature of Debtor 2

Signature of Debtor 1

X /s/ Anil Chugh ZL. bale x

Date December 8, 2023 Date

Official Form 106Dec Declaration About an Individual Debtor's Schedules
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Debtor 1 Anil Chugh

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: | NORTHERN DISTRICT OF ILLINOIS

Case number
(if known) O Check if this is an

amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. Whatis your current marital status?

Married
CO Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

EH No

O Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

HB No
CO Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

O No
H yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
From January 1 of current year until [] Wages, commissions, $0.00 [1 Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips

Hf Operating a business O Operating a business

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
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Debtor1 Anil Chugh

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Case number (if known)

For last calendar year:
(January 1 to December 31, 2022 )

Debtor 1

Sources of income
Check all that apply.

C1 Wages, commissions,
bonuses, tips

H Operating a business

Gross income
(before deductions and
exclusions)

$14,165.00

Debtor 2

Sources of income
Check all that apply.

C] Wages, commissions,
bonuses, tips

CZ Operating a business

Gross income
(before deductions
and exclusions)

For the calendar year before that:
(January 1 to December 31, 2021 )

C) Wages, commissions,
bonuses, tips

a Operating a business

$12,244.00

CD wages, commissions,
bonuses, tips

C Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of ofher income are alimony;
and other public benefit payments; pensions; rental income; interest; dividends; money collected fro

winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Ol No
Yes. Fill in the details.

Debtor 1
Sources of income
Describe below.

Gross income from
each source
(before deductions and

Debtor 2
Sources of income
Describe below.

child support; Social Security, unemployment,
m lawsuits; royalties; and gambling and lottery

Gross income
(before deductions
and exclusions)

exclusions)
For last calendar year: Social Security $14,689.20
(January 1 to December 31, 2022 ) Benefits
For the calendar year before that: — Social Security $13,878.00
(January 1 to December 31, 2021 ) Benefits
For the calendar year: Social Security $13,699.20

{January 1 to December 31, 2020 )

Benefits

[EEXEHME List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2's debts primarily consumer debts?

O No.

Neither Debtor 1 nor Debtor 2 has primarily consumer debts.

individual primarily for a personal, family, or household purpose.”

During the 90 days before
Go to line 7.

List below each creditor to whom you paid a total of $7,575*
paid that creditor. Do not include payments for domestic sup

0 No.
O Yes

not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

HM Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

B No.
O Yes

Go to line 7.

List below each creditor to whom you paid a total of
include payments for domestic support obli

attorney for this bankruptcy case.

Official Form 107

you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

or more in one or more payments and the total amount you
port obligations, such as child support and alimony. Also, do

$600 or more and the total amount you paid that creditor. Do not
gations, such as child support and alimony. Also, do not include payments to an

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Debtor1 Anil Chugh Case number ¢if known)
Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for ...
paid still owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

M@ No

O Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.

@ No

Os Yes. List all payments to an insider

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe Include creditor's name

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

O No
HB Yes. Fill in the details.

Case title Nature of the case Court or agency Status of the case
Case number
People v Rossama Civil Circuit Court of Cook O) Pending
Vadakumpadam, Chicago Title County O On appeal
Land Trust Company, 410 LLC and a
Anil Chugh Conelaced
2017CH04657
Zafar Sheikh v Anil Chugh Civil Circuit Court of Cook H Pending
2016 CH 003166 County O On appeal
O Concluded
SHEILA BRIDGE v Anil Chugh Sheila Bridge CO Pending
2017SR001681 28532 N Sky Crest Dr C1 On appeal

Mundelein, IL 60060 B Concluded

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

Hl No. Goto line 11.
0 Yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the

property
Explain what happened

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
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Debtor1 Anil Chugh Case number (if known)

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your

accounts or refuse to make a payment because you owed a debt?
HB No

O Yes. Fill in the details.

Creditor Name and Address Describe the action the creditor took Date action was
taken

Amount

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a

court-appointed receiver, a custodian, or another official?
H No
O Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
H No

O Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts

Dates you gave Value
per person

the gifts

Person to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
No

O Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed
more than $600

Charity's Name
Address (Number, Street, City, State and ZIP Code)

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

Dates you Value
contributed

H No
O Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your

Value of property
how the loss occurred

Include the amount that insurance has paid. List pending  !°SS lost
insurance claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
@ Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address

made
Person Who Made the Payment, if Not You

Oak Brook Legal, P.C. Check for attorney's fees $2,500.00
3908 N Cass Ave

Westmont, IL 60559

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Debtor1 Anil Chugh Case number (if known)

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make Payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

B® No

O Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment

made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

H No

Yes. Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you area
beneficiary? (These are often called asset-protection devices.)

@ No
O Yes. Fill in the details.
Name of trust Description and value of the Property transferred Date Transfer was

made

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

H No

C Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or
Code) moved, or transfer

transferred

21. De you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

H No

O Yes. Fill in the details.

Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?

State and ZIP Code)

22. Have you stored property ina storage unit or place other than your home within 1 year before you filed for bankruptcy?

BH No

QO Yes. Fill in the details.

Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?

Address (Number, Street, City,
State and ZIP Code)

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
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Debtor1 Anil Chugh Case number (if known)

[EEGGEREE Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
for someone.

B® No

O Yes. Fill in the details.

Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)

eledkae| Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

BH Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

H No

0 Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

HM No

O Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

HB No

O Yes. Fill in the details.

Case Title Court or agency Nature of the case Status of the
Case Number Name case

Address (Number, Street, City,
State and ZIP Code}

clisuiiee Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

CA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
H A member of a limited liability company (LLC) or limited liability partnership (LLP)

DA partner in a partnership

0 An officer, director, or managing executive of a corporation

DO An owner of at least 5% of the voting or equity securities of a corporation

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor? Anil Chugh Case number (if known)

C No. None of the above applies. Go to Part 12.

HM Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number

Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code)

Name of accountant or bookkeeper
Dates business existed

410 LLC Consultantion business EIN: XX-XXXXXXX

410 N. NORTHWEST HIGHWAY

Palatine, IL 60067 SK TAX ASSOCIATES OF From-To 07/10/2019
NAPERVILLE PLLC

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

a No
CO Yes. Fill in the details below.

Name Date Issued
Address
(Number, Street, City, State and ZIP Code)

EGET Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case can ult ip fines-up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 9, 3571.

!s/ Anil Chugh

Anil Chugh ‘Signature of Debtor 2

Signature of Debtor 1

Date December 8, 2023 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
B No

C] Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
HB No

DO Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 1 19).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
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Debtor 1 Anil Chugh

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)

O Check if this is an
| amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15

If you are an individual filing under chapter 7, you must fill out this form if:
& creditors have claims secured by your property, or

4 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list

on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must

sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a se

write your name and case number (if known).

List Your Creditors Who Have Secured Claims

parate sheet to this form. On the top of any additional pages,

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Se

information below.
Identify the creditor and the property that is collateral

What do you intend to do with the property that
secures a debt?

cured by Property (Official Form 106D), fill in the

Did you claim the property
as exempt on Schedule C?

Creditor's CZ Surrender the property. C1 No
name: C1 Retain the property and redeem it.

CZ Retain the property and enter into a Q) Yes
Description of Reaffirmation Agreement.
property CO Retain the property and [explain]:
securing debt:
Creditor's C Surrender the property. C1 No
name: C) Retain the property and redeem it.

C] Retain the property and enter into a O Yes
Description of Reaffirmation Agreement.
property CO Retain the property and [explain]:
securing debt:
Creditor's CO] Surrender the property. ONo
name: C] Retain the property and redeem it.

CZ Retain the property and enter into a 0 Yes
Description of Reaffirmation Agreement.
property CZ Retain the property and [explain]:
securing debt:
Creditor's OD Surrender the property. ONo

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7

page 1
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Debtor1 Anil Chugh

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Case number (if known)

name:

Description of
property
securing debt:

CX) Retain the property and redeem it.

CZ) Retain the property and enter into a CO Yes
Reaffirmation Agreement.

CO Retain the property and [explain]:

GER List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

0 No
0 Yes
D No
Yes
No
Yes

No

Yes

Oo
O
O
O
Oo
0 No
O Yes
O No
0 Yes
O No
O

Yes

| Sign Below

Under penalty of perjury, | declare that | have in

X /s/ Anil Chugh

i my intention about any property of my estate that secures a debt and any personal

property that is vm lease,

Anil Chugh

Signature of Debtor 1

Date December 8, 2023

x
i Signature of Debtor 2

— SS

Date

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7 page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.
§ 101(8) as “incurred by an individual
primarily for a personal, family, or
household purpose.”

Chapter 7: Liquidation

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

$245 filing fee
$78 administrative fee

+ $15 trustee surcharge

$338 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their non-exempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations:

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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity:

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A—1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 1224-2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
State of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. If a
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

Chapter 11: Reorganization

$1,167 filing fee

+ $571 administrative fee
$1,738 total fee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that

many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Chapter 12: Repayment plan for family
farmers or fishermen

$200 filing fee
+ $78 administrative fee
$278 total fee

Similar to chapter 13; chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

Chapter 13: Repayment plan for
individuals with regular
income

$235 filing fee
+ $78 administrative fee
$313 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting ina
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts,

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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code requires that
you prompily file detailed information about your
creditors, assets, liabilities, income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court.

For more information about the documents and
their deadlines, go to:
http: /Awww.uscourts.gov/forms/bankruptcy-forms

Bankruptcy crimes have serious consequences

If you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109¢h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://www. uscourts.gov/services-forms/bankruptcy/cre
dit-counseling-and-debtor-education-courses.

In Alabama and North Carolina, go to:
http://www.uscourts.gov/services-forms/bankruptcy/cre

dit-counseling-and-debtor-education-courses.

If you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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B2030 (Form 2030) (12/15)

United States Bankruptcy Court
Northern District of Illinois

Inre — Anil Chugh Case No.

Debtor(s) Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

Pursuant to 11 U.S.C. § 329(a) and Fed, Bankr. P. 2016(b). | certify that ] am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services. [have agreedtoaccept, $ 2,500.00
Prior to the filing of this statement] havereceived $ 500.00

The source of the compensation paid to me was:

HB Debtor O Other (specify):

The source of compensation to be paid to me is:

HB Debtor Ol Other (specit¥):
@ | have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm,

C1 | have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

In return for the above-disclosed fee, | have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

Preparation and filing of any petition, schedules, statement of affairs and plan which may be required:

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof:

[Other provisions as needed]
Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
522(f)(2)(A) for avoidance of liens on household goods.

ao rp

By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
any other adversary proceeding.

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in

this bankruptcy proceeding.

December 8, 2023 isi T. Paul S. Chawla

Date T. Paul S. Chawla Oak Brook Legal P.C.
Signature of Attorney
Oak Brook Legal, P.C.
3908 N Cass Ave
Westmont, IL 60559
63032555557
tschawla@oakbrooklegal.com
Name of law firm

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United States Bankruptcy Court
Northern District of Illinois

Inre — Anil Chugh Case No.

Debtor(s) Chapter 7

VERIFICATION OF CREDITOR MATRIX

Number of Creditors: 3

The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
(our) knowledge.

ot ee I (_
Date: _December 8, 2023 Is! Anil Chugh LA _——

Anil Chugh CO O—>o-Re
Signature of Debtor

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Sheikh Zafar
3155 W Wallen Ave
Chicago, IL 60645

Sheila Bridge
28532 N Sky Crest Dr
Mundelein, IL 60060

State of Illinois
